              Case 5:20-cv-01011-F Document 19 Filed 01/12/21 Page 1 of 1




              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA


 ARLETA WATSON,              )
                             )
      Plaintiff,             )
                             )
 -vs-                        )                              Case No. CIV-20-1011-F
                             )
 VICI COMMUNITY              )
 DEVELOPMENT CORP. and CINDY )
 ARNOLD,                     )
                             )
      Defendants.            )

                                               ORDER

        Plaintiff has filed a first amended complaint (doc. no. 18), which moots the
pending motion to dismiss.              Doc. no. 16.        See, Franklin v. Kansas Dept. of
Corrections, 160 Fed. Appx. 730, 734 (10th Cir. 2005) (“An amended complaint
supersedes the original complaint and renders the original complaint of no legal
effect.”)1      The motion to dismiss is STRICKEN as moot, and this action is
STRICKEN from the telephonic status and scheduling conference docket of
February 2, 2021. The January 28, 2021 deadline for the filing of a joint status report
is likewise STRICKEN.
        IT IS SO ORDERED this 12th day of January, 2021.




20-1011p003.docx




        1
            Franklin is unpublished and is cited for its persuasive value only.
